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                               IN THE UNITED STATES DISTRICT COURT
                               FOR THE NORTHERN DISTRICT OF TEXAS
                                       FORT WORTH DIVISION

    MAURICIO PAVEL DE LA FUENTE                              §
    and DAWNA G. DE LA FUENTE,                               §
                                                             §
             Plaintiffs,
                                                             §
                                                             §
    v.
                                                             §   Case Number: __________________
                                                             §
    WELLS FARGO BANK, NATIONAL
                                                             §
    ASSOCIATION, AS TRUSTEE FOR
                                                             §
    MORGAN STANLEY CAPITAL I INC.
                                                             §
    TRUST 2006-HE1 and PHH MORTGAGE
    CORPORATION, its/their successors                        §
                                                             §
    and/or assigns,
                                                             §
             Defendants.                                     §


                                  DEFENDANTS’ NOTICE OF REMOVAL

           Defendants Wells Fargo Bank, National Association, as Trustee for Morgan Stanley

Capital I Inc. Trust 2006-HE1, Mortgage Pass-Through Certificate, Series 2006-HE11 (“Wells

Fargo”) and PHH Mortgage Corporation (“PHH”) (collectively, “Defendants”), by and through

their attorneys, file this Notice of Removal pursuant to 28 U.S.C. §§ 1331, 1332, 1441, and 1446.

                                               I.        BACKGROUND

           On March 30, 2022, Plaintiffs Mauricio Pavel De La Fuente and Dawna G. De La Fuente

(collectively, “Plaintiffs”) filed an Original Verified Petition and Application for Temporary

Restraining Order and Temporary Injunction against the Defendants in the District Court of

Tarrant County, Texas (the “Action”).2 Plaintiffs seek relief pertaining to the title to real property

located at 405 Durrand Oak Drive, Keller, Texas 76248 (the “Property”) and seek to prevent



1
 Improperly named in Plaintiffs’ Petition as, “Wells Fargo Bank, National Association, as Trustee for Morgan Stanley
Capital 1 Inc. Trust 2006-HE1.”
2
    See Plaintiff’s Original Petition (“Pet.”), Exhibit B.



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Defendants from foreclosing their mortgage lien secured against the Property.

           Defendants have yet to be served with process. As such, this removal is timely pursuant to

28 U.S.C. §1446(b).

             II.      FEDERAL QUESTION JURISDICTION UNDER 28 U.S.C. § 1331

           This Court has original jurisdiction over the Action pursuant to 28 U.S.C. § 1331. Plaintiff

asserts a right to recover damages under the Real Estate Settle Procedures Act (“RESPA”) pursuant

to 12 U.S.C. § 2605(f) for alleged violations of 12 C.F.R. §§ 1024.41(a), 1024.41(b)(2)(i)(A)-(B)

1024.41(c), 1024.41(f)(2)(i)-(iii), 1024.41(f)(3)(i)-(iii), 1024.41(g), and 1024.41(k)(1)-(4).3 This

Court has jurisdiction over these claims because they arise under the laws of the United States. 28

U.S.C. § 1331; see Empire Healthchoice Assur., Inc. v. McVeigh, 547 U.S. 677, 690 (2006).

           This Court should also exercise supplemental jurisdiction over the Plaintiffs’ state-law

claims because federal question jurisdiction under 28 U.S.C. § 1331 is proper and the state-law

claims derive from a common nucleus of operative facts. See 28 U.S.C. § 1367; Arena v. Graybar

Elec. Co., Inc., 669 F.3d 214, 221 (5th Cir. 2012).

                     III.   DIVERSITY JURISDICTION UNDER 28 U.S.C. § 1332

           This Court has original jurisdiction over the Action pursuant to 28 U.S.C. §§ 1332, 1441

and 1446 because: (1) there is complete diversity between Plaintiffs and Defendants; and (2) the

amount in controversy exceeds $75,000 exclusive of interests and costs.

A.         Complete Diversity Exists.

           There is complete diversity between Plaintiffs and Defendants.

           1.        Plaintiffs are Citizens of Texas.

           Plaintiffs are individuals living in Texas. Plaintiffs specifically allege that they are



3
    Pet., ¶¶36-39.



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individual residents of Keller, Texas, which is in Tarrant County.4 For purposes of diversity

jurisdiction, a person is a citizen of the state in which he or she is domiciled. Coury v. Prot, 85

F.3d 244, 251 (5th Cir. 1996). Upon information and belief, Plaintiffs’ have no intention of leaving

Texas and do not plead any such intention in the Petition. Thus, for diversity purposes, Plaintiffs’

domicile is in Texas, and therefore, Plaintiffs are citizens of Texas.

            2.          Wells Fargo is a Citizen of South Dakota.

            Wells Fargo is a citizen of South Dakota for purposes of diversity jurisdiction. Wells Fargo

is a national banking association acting as trustee of a trust. As trustee, Wells Fargo’s citizenship

controls for diversity purposes. See Wells Fargo Bank, N.A. v. Am. Gen. Life Ins. Co., 670 F. Supp.

2d 555, 561 (N.D. Tex 2009) (“[T]he citizenship of a trust, for diversity jurisdiction purposes, is

determined by the citizenship of its trustee.”) (citing Navarro Sav. Ass’n v. Lee, 446 U.S. 4558,

461 (1980) and Bass v. Int’l Bhd. of Boilermakers, 630 F.2d 1058, 1067 n. 17 (5th Cir. 1980)). In

Wachovia Bank, N.A. v. Schmidt¸ the United States Supreme Court held that a national bank is a

citizen of the state where its main office, as designated in its articles of association, is located. 546

U.S. 303, 307 (2006); see also 28 U.S.C. § 1348. Wells Fargo’s main office, as designated in its

articles of association, is located in South Dakota. Therefore, Wells Fargo is a citizen of South

Dakota for diversity purposes.

            3.          Defendant PHH is a Citizen of New Jersey.

            Defendant PHH is a citizen of New Jersey for purposes of diversity jurisdiction. PHH is a

corporation. When considering diversity of citizenship, “a corporation shall be deemed to be a

citizen of every State…by which it has been incorporated and of the State…where it has its

principal place of business.” 28 U.S.C. §1332(c)(1). A “principal place of business” refers to the


4
    See Pet., ¶¶ 2-3.



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place where the corporation’s high level officers direct, control, and coordinate the corporation’s

activities. See Hertz Corp. v. Friend, 559 U.S. 77, 80 (2010). PHH is incorporated in New Jersey

and has its principal place of business in New Jersey. Therefore, PHH is a citizen of New Jersey

for diversity purposes. See Bohannon v. PHH Mortg. Corp., 665 F. App’x 760, 761 n.2 (11th Cir.

2016) (PHH is a citizen of New Jersey).

B.         Amount in Controversy is Met.

           The amount in controversy exceeds $75,000 exclusive of interest and costs. Plaintiffs,

among other things, seek injunctive relief to prevent Defendants from foreclosing a lien secured

against the Property.5 “In actions seeking declaratory or injunctive relief, it is well established that

the amount in controversy is measured by the value of the object of the litigation.” Hunt v.

Washington State Apple Advertising Comm'n, 432 U.S. 333 (1977). “[W]hen the validity of a

contract or a right to property is called into question in its entirety, the value of the property

controls the amount in controversy.” Waller v. Professional Ins. Corp., 296 F.2d 545, 547-48 (5th

Cir. 1961). Where “[t]he purpose of the injunctive [or] declaratory relief [is] to stop the foreclosure

sale of . . . properties, ‘the amount in controversy . . . is the value of the right to be protected or the

extent of the injury to be prevented.’” Farkas v. GMAC Mortg., LLC, 737 F.3d 338, 341 (5th Cir.

2013) (quoting Leininger v. Leininger, 705 F.2d 727, 729 (5th Cir. 1983)). A common method of

establishing the value of real property is to look to a county appraisal district’s assessment. Statin

v. Deutsche Bank Nat. Trust Co., 599 F. App’x 545, 546-47 (5th Cir. 2014). The current market

value of the Property according to the Tarrant County Appraisal District is $285,971.00.6 Because

this assessed value of the Property exceeds $75,000, the amount in controversy has been met.




5
    Pet., ¶¶ 29-30.
6
    See Appraisal District Profile, Exhibit O.


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        While Defendants deny the allegations in the Petition, deny any liability to Plaintiffs

whatsoever, and deny that Plaintiffs are entitled to any relief, if Plaintiffs’ allegations are proven

to be true, the amount in controversy far exceeds the sum or value of $75,000.00, exclusive of

interest, costs, and attorney fees.

                            IV.      VENUE IS PROPER IN THIS COURT

        Venue is proper in this Court under 28 U.S.C. §§ 1441(a) and 1446(a), which provide for

removal of any civil action to the federal district court for the district and division embracing the

place where the state court action is pending. The Action was commenced in the 348th Judicial

District Court of Tarrant County, Texas on March 30, 2022. This Court embraces the 348th Judicial

District Court of Tarrant County, Texas, the state court in which the action is now pending. 28

U.S.C. §§ 1391 and 1441(a).

       V.       ALL PROCEDURAL REQUIREMENTS FOR REMOVAL SATISFIED

        Pursuant to 28 U.S.C. 1446(a), true and correct copies of all process, pleadings, and orders

from the state court file of the Action are being filed with this Notice of Removal.7 Defendants

are filing with the clerk of the state district court in which the Action is pending, and is serving

upon Plaintiffs, a Notice of Removal, together with this Notice of Filing Notice of Removal and

supporting documentation, pursuant to 28 U.S.C. § 1446(d).

        Based upon the foregoing, Defendants are entitled to remove this action to this Court under

28 U.S.C. §§ 1331, 1332, 1441, and 1446.

                         VI.      REMOVAL IS PROPER TO THIS COURT

        Defendants have met the requirements for removal of this Action to this Court under 28

U.S.C. 1331, 1332, 1441, and 1446. This Notice of Removal is filed subject to and without waiver


7
 See Exhibit A, Docket Sheet; Exhibits B- N, Filings in the Tarrant County District Court, true and correct copies of
which are attached.



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of all rights and defenses to Plaintiffs’ claims herein.



Date: April 21, 2022                                   Respectfully submitted,
                                                       /s/ Adam Nunnallee
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                                                       Dallas, Texas 75201


                                  CERTIFICATE OF SERVICE

        I hereby certify that a true and correct copy of the foregoing document was served upon on
all counsel of record on April 21, 2022, in compliance with the Federal Rules of Civil Procedure.

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                                                       /s/ Adam Nunnallee
                                                       Adam Nunnallee




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